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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,

             Plaintiffs/Counter-Defendants,

      v.
                                              Civil Action No. 1:21-cv-00040 (CJN)
SIDNEY POWELL, et al.,

             Defendants/Counter-Plaintiffs.




US DOMINION, INC., et al.,
             Plaintiffs,

      v.
                                              Civil Action No. 1:21-cv-00213 (CJN)
RUDOLPH W. GIULIANI,
            Defendant.




US DOMINION, INC., et al.,
           Plaintiffs/Counter-Defendants,
      v.

MY PILLOW, INC., et al.,                      Civil Action No. 1:21-cv-00445 (CJN)
           Defendants/ Counter- and Third-
           Party Plaintiffs,
      v.

SMARTMATIC USA CORP., et al.,
           Third-Party Defendants.
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 US DOMINION, INC., et al.,
           Plaintiffs,

         v.

 PATRICK BYRNE,                                       Civil Action No. 1:21-cv-02131 (CJN)

                Defendant.



 US DOMINION, INC., et al.,
               Plaintiffs/Counter-Defendants,

         v.
                                                      Civil Action No. 1:21-cv-02130 (CJN)
 HERRING NETWORKS, INC. et al.,
               Defendants/ Counter- and
               Third-Party Plaintiffs,
        v.

 AT&T SERVICES, et al.,
           Third-Party Defendants.




                 ORDER ON FACT WITNESS DEPOSITION PROTOCOL

       Upon consideration of the briefing and oral argument of the parties in the above-captioned

matters, it is hereby ORDERED as follows:

       This Fact Witness Deposition Protocol applies to fact witness depositions, excluding party

30(b)(6) depositions.

       Expert witness depositions are governed by the parties’ Expert Stipulation and the Federal

Rules of Civil Procedure.

       The fact witness depositions, excluding party 30(b)(6) depositions, will proceed subject to

the terms that follow:
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Total Deposition        The below total number of hours applies to depositions of
Hours                   party and third-party fact witnesses:

                        •    Dominion: 350 hours total
                        •    Defendants: 500 hours total

                        However, no Defendant group (the set of Defendants from a
                        particular case) can take more than a total of 200 deposition
                        hours. Dominion can take no more than 200 deposition hours
                        of one Defendant group.

Length of Party          •    Party depositions are presumptively limited to 5 hours on
Depositions                   the tape for Plaintiffs and 9 hours on the tape for
                              Defendants. However, no Defendant group (the set of
                              Defendants from a particular case) can take more than 5
                              hours with any one witness unless exercising the
                              Extended Time Party Deponent designation as set forth
                              below.

                         •    The witness has the right to complete their deposition in
                              one day, or if the deposition exceeds 7 hours, the witness
                              may elect to continue on the second day.

“Extended Time           •    For each case, each side in that case, except as specified
Party Deponents”              in the following paragraph, can choose 1 party deponent
                              for whom that side has additional time on the tape (an
                              “Extended Time Party Deponent”). Third-parties cannot
                              be Extended Time Party Deponents. Counsel in the case
                              designating a particular party deponent as an “Extended
                              Time Party Deponent” shall receive an additional 5 hours
                              on the tape for that deponent.

                         •    Notwithstanding the above, Christina Bobb and
                              Defending the Republic may each designate an Extended
                              Time Party Deponent of their own. Dominion may
                              designate an additional two Extended Time Party
                              Deponents as follows: one in its case against the Herring
                              Parties and Bobb, and one in its case against the Powell
                              Parties and Defending the Republic

                         •    The parties will reserve two consecutive business days
                              for all Extended Time Deponent depositions, although
                              the deponent at his or her election may choose to sit for
                              the entire deposition on one day.




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Scheduling of Party     •   The parties will meet and confer to work out scheduling
depositions                 of all party depositions under this protocol.

                        •   Depositions of Dominion witnesses and former
                            Dominion employees (if represented by counsel for
                            Dominion): If the parties are unable to reach agreement
                            on the date for a deposition of a Dominion witness, or
                            former Dominion employee represented by counsel for
                            Dominion, then Dominion (in coordination with the
                            witness) will offer three
                            different week-day days (or, for an Extended Time
                            Deponent, three different two-business-day periods) for
                            that deposition. If the parties are still unable to agree on
                            one of the three offered days, Dominion (in coordination
                            with the witness) will select the date (or consecutive
                            business days) for the deposition, choosing from one of
                            the three offered days.

                            Depositions of Defendant witnesses and former
                            employees of Defendant (if represented by counsel for
                            Defendant): If the parties are unable to reach agreement
                            on the date for a deposition of a Defendant witness, or
                            former employee of a Defendant represented by counsel
                            for a Defendant, then the Defendant for that witness (in
                            coordination with the witness) will offer three different
                            week-day days (or, for an Extended Time Deponent, three
                            different two- business-day periods) for that deposition. If
                            Dominion noticed the deposition or subpoenaed the
                            witness, then Dominion will choose from the days offered.
                            If Dominion did not notice the deposition or subpoena the
                            witness, then the Defendant who noticed the deposition or
                            subpoenaed the witness will choose from the days offered.
                            If more than one Defendant (but not Dominion) noticed
                            the deposition or subpoenaed the witness, they will work
                            together to select a date. If they cannot agree on a date,
                            then the Defendant for that witness will select the date (or
                            consecutive business days) for the deposition, choosing
                            from one of the three offered.

Location of
depositions                 All depositions will be taken in-person unless otherwise
                            agreed by the noticing/subpoenaing party and the witness
                            or Ordered by the Court. For good cause shown, any party
                            may move for the deposition to proceed via zoom.




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 Use of deposition         •   Any depositions taken pursuant to this protocol will be
 transcripts/videos            deemed to have been taken in all of the five cases, and thus
                               will be usable in each of the five cases pursuant to the
                               applicable rules and all applicable protective orders.




       IT IS SO ORDERED.



Date: March 21, 2024

                                                      ______________________________
                                                      HON. MOXILA A. UPADHYAYA
                                                      United States Magistrate Judge




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